

People v Williams (2018 NY Slip Op 06442)





People v Williams


2018 NY Slip Op 06442


Decided on September 28, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 28, 2018

PRESENT: CENTRA, J.P., CARNI, LINDLEY, CURRAN, AND TROUTMAN, JJ. (Filed Sept. 28, 2018.) 


MOTION NO. (604/18) KA 15-02121.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
v ISIAH WILLIAMS, DEFENDANT-APPELLANT. (APPEAL NO. 3.)



MEMORANDUM AND ORDER
Motion for reargument denied.








